                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

Daniel Phillips, individually and as      :     CIVIL ACTION
Administrator of the Estate of Douglas    :
Stanton, deceased, and on behalf of all   :
Wrongful death heirs,                     :
850 Pone Lane                             :
Franklin, PA 16323                        :
                                          :
                       Plaintiff          :
                                          :
       vs.                                :
                                          :     Civil Action NO. 1:23-cv-103
                                          :
Pennsylvania State Police                 :
1800 Elmerton Avenue                      :
Harrisburg, PA 17110                      :
                                          :
       And                                :     JURY TRIAL DEMANDED
                                          :
John Does                                 :
1—10                                      :
                       Defendants         :


                              PRAECIPE TO ISSUE SUMMONS

       TO THE CLERK:

       Kindly issue the attached Summons upon the Defendant PENSYLVANIA STATE

POLICE.


                                                Respectfully,

                                                SWARTZ CULLETON PC


                                          By:   /s/ Anthony J. Giannetti
                                                Anthony J. Giannetti, Esquire
                                                Adam D. Shorr, Esquire
                                                Attorneys for Plaintiff

Date: April 10, 2023
